[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MOTION TO DISMISS, PENDENTE LITE
The plaintiff, Bertha M. Fortney, hereby respectfully moves this court for an order dismissing this action pursuant to Practice Book § 10-30 et seq. and § 25-12 et seq. for the reasons set forth in more detail in the plaintiff's Memorandum of Law in Support of Motion to Dismiss and the Affidavit of Bertha M. Fortney. In the alternative, this matter should be transferred to the Judicial District of Stamford/Norwalk at Stamford.
ORAL ARGUMENT REQUESTED. TESTIMONY NOT REQUIRED. CT Page 2055-a
Respectfully submitted.
THE PLAINTIFF BY SCHOONMAKER, GEORGE COLIN, P.C. JURIS NO. 412222 HER ATTORNEYS
By Samuel V. Schoonmaker III Samuel V. Schoonmaker IV 5 Edgewood Avenue P.O. Box 5059 Greenwich, CT 06831-5059
ORDER
The foregoing Motion to Dismiss, Pendente Lite having been heard, it is hereby GRANTED in part; denied in part.
It is further ordered that:
1. This matter is transferred to the Judicial District of Fairfield.
BY THE COURT
Solomon, Judge
                              CERTIFICATION
I hereby certify that a copy of the foregoing Motion to Dismiss, pendente Lite has been mailed, postage prepaid this 1st
of December, 1998, to:
Melvin Scott, Esq. Scott  Scott, LLC 108 Norwich Avenue P.O. Box 192 Colchester, CT 06415
SCHOONMAKER, GEORGE  COLIN, P.C.
By Samuel V. Schoonmaker IV